                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                     )
                                              )      Case No. 4:08-cr-14
 vs.                                          )
                                              )
 TIMOTHY NEAL                                 )      MATTICE/LEE


                                  MEMORANDUM & ORDER

         The supervised releasee, TIMOTHY NEAL, (hereafter “defendant”), appeared for a hearing
 before the undersigned on April 7, 2009, in accordance with Rule 46(c) of the Federal Rules of
 Criminal Procedure and 18 U.S.C. §§ 3143 and 3148 on the Petition for Action on Conditions of
 Pretrial Release. Those present for the hearing included:

                (1) AUSA Scott Winne for the USA.
                (2) The defendant, Timothy Neal.
                (3) Attorney Sam Robinson, III for defendant.
                (4) U.S. Probation Officer Doug Corn.
                (5) Courtroom Deputy Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         AUSA Scott Winne called U.S. Probation Officer Doug Corn, who testified that the
 defendant tested positive for Hydrocodone on March 25, 2009. Based on the defendant’s continued
 drug use, I conclude the defendant has failed to abide by his conditions of release and that he is
 therefore a danger to the community. The defendant must be detained without bond.

        SO ORDERED.

        ENTER.

        Dated: April 7, 2009                  s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




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